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             IN THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,

      Vs.                                       Nos. 10-40009-01-SAC
                                                     11-4041-SAC

ANDREW RUTHERFORD,

                        Defendant.


                         MEMORANDUM AND ORDER

            Pending before the court is the defendant's motion for relief

pursuant to 28 U.S.C. § 2255 (Dk. 158) which he filed April 21, 2011. The

government filed its response on July 22, 2011, (Dk. 169),1 and the day

before, on July 21, 2011, the defendant filed a motion for release on his own

recognizance or on bond pending the court’s ruling on his § 2255 motion.

(Dk. 167). On April 28, 2010, the defendant Rutherford pleaded guilty to

count one, conspiracy to possess with the intent to distribute 100 kilograms

or more of marijuana in violation of 21 U.S.C. § 846 with reference to 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(B). (Dks. 67 and 68).2 After overruling


      The court’s ruling on this motion will be forthcoming after waiting the
      1

14-day period for the defendant to file any reply. D. Kan. Rule 6.1(d).
      2
       This plea agreement provides in relevant part: “The defendant
knowingly and voluntarily waives any right to appeal or collaterally attack
any matter in connection with this prosecution, the defendant's conviction,
or the components of the sentence to be imposed herein including the length
and conditions of supervised release.” (Dk. 68, pp. 21-22, ¶ 11).
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the defendant’s objections to the presentence report, the court sentenced

the defendant to 108 months imprisonment on August 4, 2010. (Dks. 114

and 123). The defendant took no direct appeal but filed his § 2255 motion

approximately eight months later.

               The defendant argues in his § 2255 motion that the State of

Kansas is not a state within the meaning of the Tenth Amendment, the

Controlled Substances Act, and, in particular, 21 U.S.C. §§ 841 and 846, as

to provide this court with jurisdiction over the offenses charged in this case.

In his motion for release, the defendant proposes he is likely to prevail in

showing that § 841 does not apply to the State of Kansas and that § 841

lacks an interstate nexus. To be released “pending a determination on the

merits of his [§ 2255] petition,” the burden is with the defendant to “make a

showing of exceptional circumstances or demonstrate a clear case on the

merits of his habeas petition.” United States v. Palermo, 191 Fed. Appx.

812, 813, 2006 WL 2374405 (10th Cir. Aug. 17, 2006) (citing Pfaff v. Wells,

648 F.2d 689, 693 (10th Cir. 1981)). The defendant’s motion offers no

exceptional circumstances and utterly fails to “demonstrate a “clear case on

the merits.”

               IT IS THEREFORE ORDERED that the defendant’s motion for

release on his own recognizance or on bond pending the court’s ruling on his

§ 2255 motion (Dk. 167) is denied.



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      Dated this 26th day of July, 2011, Topeka, Kansas.



                 s/ Sam A. Crow
                 Sam A. Crow, U.S. District Senior Judge




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